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 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9    MIGUEL A. PLASCENCIA,
                                                   Case No. CV
10                        Plaintiff,
                                                   FIRST AMENDED COMPLAINT
11    V.

12    DRIFTWOOD HOSPITALITY                        (Jury Trial Demanded)
      MANAGEMENT, LLC, a foreign
13    company doing business in Arizona;
14    DRIFTWOOD HOSPITALITY
      MANAGEMENT II, LLC, a foreign
15    company doing business in Arizona;
      DHM PAYROLL – HI PHX WEST LLC,
16
      an Arizona limited liability company,
17
18                        Defendants.
19
20
21         Plaintiff, Miguel A. Plascencia, for his complaint against Defendants, alleges as

22   follows:

23                              JURISDICTION AND VENUE

24         1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 and 29

25   U.S.C. § 2611, et seq.

26         2.     The unlawful employment practices described herein were committed within
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     the State of Arizona, on Defendants’ premises located in Maricopa County, Arizona.
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     Accordingly, venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).
 3
          3.       The employment practices alleged below to be unlawful were committed
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     within the jurisdiction of the United States District Court for the District of Arizona.
 5
                                              PARTIES
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          4.       Plaintiff Miguel Plascencia is, and was at all relevant times, a resident of
 7
     Maricopa County, Arizona.
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          5.       Defendant Driftwood Hospitality Management, LLC is a foreign company
 9
     doing business in Maricopa County, Arizona. Upon information and belief, Defendant
10
     DHM Payroll – HI PHX West LLC is a wholly owned subsidiary of Defendant Driftwood
11
     Hospitality Management II, LLC.
12
          6.       Defendant Driftwood Hospitality Management II, LLC is a foreign company
13
     doing business in Maricopa County, Arizona.
14
          7.       Upon information and belief, Driftwood Hospitality Management II, LLC is
15
     a subsidiary, division, alter-ego, division, or other related entity of Driftwood Hospitality
16
     Management, LLC.
17
          8.       Upon information and belief, Defendant DHM Payroll – HI PHX West LLC
18
     is a subsidiary, division, alter-ego, division, or other related entity of Driftwood
19
     Hospitality Management, LLC and/or Defendant Driftwood Hospitality Management II,
20
     LLC.
21
          9.       Upon information and belief, at all times relevant to this matter, Defendants
22
     DHM Payroll – HI PHX West LLC, Driftwood Hospitality Management, LLC and
23
     Defendant Driftwood Hospitality Management II, LLC (collectively referred to as
24
     “Defendants” or “Driftwood”) employed more than fifty (50) workers.
25
          10.      Each Defendant is an employer as defined by the Family Medical Leave Act
26



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 1
     (“FMLA”).
 2
          11.      This Court has subject matter jurisdiction over these claims.
 3
          12.      All acts complained of herein took place in Maricopa County, Arizona.
 4
          13.      Plaintiff reserves the right to name and serve additional parties who may be
 5
     liable for his damages, and will amend this Complaint and name such parties when, and if,
 6
     their identity is discovered.
 7
 8
                                     GENERAL ALLEGATIONS
 9
          14.      On or about July 12, 2009, Ardent Hotel Advisors hired Plaintiff as the full-
10
     time Executive Chef and Food & Beverage Manager at the Holiday Inn Phoenix West
11
     located at 1500 N. 51st Avenue in Phoenix, Arizona 85043.
12
          15.      Upon information and belief, at the time Plaintiff was hired, he was provided
13
     a Driftwood Hospitality Management LLC Associate Handbook that identified employees
14
     as “associates of Driftwood Hospitality Management, LLC.”
15
          16.      In approximately July 2010, Defendant Driftwood Hospitality Management
16
     II, LLC assumed the management and operations of the Holiday Inn Phoenix West located
17
     1500 N. 51st Avenue in Phoenix, Arizona 85043.
18
          17.      As a result of Defendants’ management and operation of the Holiday Inn
19
     West located 1500 N. 51st Avenue in Phoenix, Arizona 85043, the workers who had been
20
     employed by Ardent Hotel Advisors became employees of Defendants.
21
          18.      Upon information and belief, from July 2010 through December 2010,
22
     Plaintiff was an employee of Driftwood Hospitality Management II, LLC.
23
         19.       On or about July 8, 2010, Defendant Driftwood Hospitality Management II,
24
     LLC formally hired Plaintiff as the Executive Chef and Food & Beverage Manager at the
25
     Holiday Inn Phoenix West located at 1500 N. 51st Avenue in Phoenix, Arizona 85043.
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 1
          20.      Upon information and belief, starting in January 2011, Plaintiff was
 2
     employed by DHM Payroll – HI PHX West LLC, a wholly owned subsidiary of Driftwood
 3
     Hospitality Management II, LLC.
 4
         21.       Upon information and belief, Driftwood Hospitality Management, LLC and
 5
     Driftwood Hospitality Management II, LLC are related entities.
 6
          22.      Throughout Plaintiff’s employment, he performed at or above the
 7
     expectations of Defendants.
 8
          23.      Effective January 7, 2011, Plaintiff received a salary increase.
 9
          24.      On or about October 25, 2011, a dentist extracted two of Plaintiff’s wisdom
10
     teeth. As a result of the extraction, Plaintiff experienced complications that required
11
     further treatment.
12
          25.      In addition to the complications from dental extractions, Plaintiff began to
13
     experience cardiac symptoms.
14
          26.      Throughout the period during which Plaintiff was undergoing medical
15
     treatment, he provided Defendants with updates on his treatment and medical
16
     appointments. At no point did Defendants explore whether Plaintiff’s conditions entitled
17
     him to FMLA leave.
18
          27.      On or about November 22, 2011, Plaintiff underwent an Alveoloplasty of
19
     the right mandibular third molar area to repair the damage Plaintiff suffered during the
20
     October 25, 2011 procedure.
21
          28.      Although    the    Alveoloplasty    was    successful,    Plaintiff   required
22
     microneurosurgery to repair damage to his right lingual nerve.
23
          29.      Plaintiff also had cardiac issues that may have required surgery.
24
          30.      On or about April 13, 2012, Plaintiff met with General Manager Mary
25
     Newland.
26



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 1
          31.       During the April 13, 2012 meeting, Plaintiff notified Defendants of his
 2
     medical conditions and treatment and explained that he required time off for his medical
 3
     care. Plaintiff requested two weeks off for the microneurosurgery on the lingual nerve.
 4
          32.       Defendants did not examine whether FMLA leave was appropriate in light
 5
     of Plaintiff’s request.
 6
         33.        Defendants did not provide Plaintiff with information about his right to
 7
     FMLA leave.
 8
         34.        Defendants did not refer Plaintiff to their Human Resources Department.
 9
         35.        Defendants did not approve Plaintiff’s request for FMLA-protected leave.
10
         36.        Plaintiff was scheduled for a pre-operative microneurosurgical visit with his
11
     oral and maxillofacial surgeon on April 24, 2012.
12
         37.        On April 23, 2012, Defendants terminated Plaintiff’s employment and
13
     benefits, including medical and dental coverage.
14
         38.        At the time of the termination of Plaintiff’s employment, all goals and profits
15
     for the Food & Beverage Department met or exceeded Driftwood’s expectations.
16
         39.        As a direct and proximate cause of Defendants’ unlawful termination of
17
     Plaintiff’s employment, Plaintiff was unable to timely undergo the microneurosurgery on
18
     his lingual nerve.
19
         40.        Upon information and belief, the delay in the treatment of Plaintiff’s lingual
20
     nerve has resulted in permanent damage to his lingual nerve.
21
         41.        Defendants did not provide Plaintiff with notice regarding his eligibility for
22
     FMLA leave.
23
         42.        Defendants did not provide Plaintiff with notice of his rights and
24
     responsibilities under the FMLA.
25
         43.        Defendants did not approve Plaintiff’s request for FMLA-protected leave.
26



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 1
         44.      Pursuant to 29 U.S.C. § 2611(4), the FMLA applies to employers with 50 or
 2
     more employees during each working day during each of twenty (20) or more calendar
 3
     work weeks in the current or preceding calendar year.
 4
         45.      Based on the requirement set forth in the Paragraph 37, Defendants were
 5
     employers obligated to extend FMLA benefits to their eligible employees.
 6
         46.      Pursuant to 29 U.S.C. § 2611(2)(A), in order to qualify for FMLA leave, an
 7
     employee must have been employed for at least twelve (12) months and for at least 1,250
 8
     hours of service with the employer during the previous twelve (12) month period.
 9
         47.      Based on the requirements set forth in the Paragraph 39, Plaintiff qualified
10
     for FMLA leave.
11
                                            COUNT I
12
                    (Family Medical Leave Act - U.S.C. § 2615(a)(1), et seq.)
13
         48.      Plaintiff realleges and incorporates herein by reference the allegations of the
14
     foregoing paragraphs of this Complaint as though fully set forth here.
15
         49.      Plaintiff was eligible for FMLA leave.
16
         50.      Plaintiff was entitled to FMLA leave.
17
         51.      Plaintiff provided Defendants sufficient notice of his FMLA qualifying
18
     event.
19
         52.      Defendants were required to provide Plaintiff with notice regarding his
20
     eligibility for FMLA leave and Plaintiff’s rights and responsibilities under the FMLA.
21
         53.      Defendants failed or refused to provide Plaintiff with notice regarding his
22
     eligibility for FMLA leave.
23
         54.      Defendants failed or refused to provide Plaintiff any information regarding
24
     his rights and responsibilities under the FMLA.
25
         55.      Defendants denied Plaintiff a benefit to which he was entitled pursuant to
26



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 1
     the FMLA in violation of 29 U.S.C. § 2615(a)(1).
 2
         56.       As a direct and proximate cause of Defendants’ violations of the FMLA,
 3
     Plaintiff has suffered and continues to suffer damages that include, but are not limited to,
 4
     wages, salary, employment benefits, liquidated damages, interest, permanent physical
 5
     injury, and other damages to be proven at trial.
 6
                                             COUNT II
 7
                    (Family Medical Leave Act – U.S.C. § 2615(a)(2), et seq.)
 8
         57.       Plaintiff realleges and incorporates herein by reference the allegations of the
 9
     foregoing paragraphs of this Complaint as though fully set forth here.
10
         58.       Plaintiff was eligible for FMLA leave.
11
         59.       Plaintiff was entitled to FMLA leave.
12
         60.       Plaintiff’s availed himself of a protected right pursuant to the FMLA.
13
         61.       Defendants terminated Plaintiff’s employment nine (9) days after Plaintiff
14
     sought FMLA-protected leave.
15
         62.       The termination of Plaintiff’s employment was a materially adverse action.
16
         63.       Defendants’ decision to terminate Plaintiff’s employment was causally
17
     linked to the protected conduct in which Plaintiff engaged.
18
         64.       As a direct and proximate cause of Defendants’ violations of the FMLA,
19
     Plaintiff has suffered and continues to suffer damages that include, but are not limited to,
20
     wages, salary, employment benefits, liquidated damages, interest, permanent physical
21
     injury, and other damages to be proven at trial.
22
                                  DEMAND FOR JURY TRIAL
23
                          Miguel A. Plascencia hereby requests a trial by jury.
24
25
26



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 1
                                      PRAYER FOR RELIEF
 2
            WHEREFORE, Plaintiff respectfully requests that this Court:
 3
            A.      Order Defendants, jointly and severally, to make whole Miguel A.
 4
     Plascencia by providing appropriate back pay with prejudgment interest, in amounts to be
 5
     determined at trial, and other affirmative relief necessary to eradicate the effects of its
 6
     unlawful employment practices, including but not limited to, rightful reinstatement of
 7
     Miguel A. Plascencia.
 8
            B.      Order Defendants, jointly and severally, to pay front pay in an amount to be
 9
     proven at trial.
10
            C.      Order Defendants, jointly and severally, to compensate Miguel A.
11
     Plascencia for past and future damages resulting from the unlawful practices complained
12
     of above, including all wages, salary, employment benefits, interest, or other
13
     compensation denied Plaintiff by reason of Defendants’ violations.
14
            D.      Order Defendants, jointly and severally, to pay damages to for the
15
     permanent physical injury suffered by Miguel A. Plascencia as a direct result of the
16
     termination of Plaintiff’s employment and medical benefits, thereby eliminating any
17
     opportunity to repair his lingual nerve.
18
            E.      Order Defendants, jointly and severally, to pay liquidated damages in an
19
     amount to be determined at trial;
20
            F.      Award Miguel A. Plascencia his costs, attorney’s fees and pre-judgment and
21
     post-judgment interest; and
22
            G.      Grant such further relief as this Court deems necessary and proper in the
23
     public interest.
24
                    Respectfully submitted this 5th day of February, 2015.
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26



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 1                                     MARSHALL LAW, P.C.
 2                                     s/Mishka L. Marshall
                                       Mishka L. Marshall
 3                                     2198 E. Camelback Rd., Suite 310
                                       Phoenix, AZ 85016
 4                                     Attorney for Plaintiff
 5
                                CERTIFICATE OF SERVICE
 6
 7         I hereby certify that on February 5, 2015 I transmitted by electronic filing the
 8
     foregoing First Amended Complaint to the United States District Court for the District of
 9
     Arizona using the CM/ECF System for filing and transmittal of a Notice of Electronic
10
11   Filing to the following CM/ECF registrants:

12                                    Deanna R. Rader, Esq.
13                                   Monica M. Ryden, Esq.
                                       Gordon & Rees LLP
14                                111 W. Monroe St., Suite 1600
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15                                   drader@gordonrees.com
16                                  mryden@gordonrees.com
                                     Counsel for Defendants
17
18                                     s/Mishka L. Marshall
19                                      Mishka L. Marshall

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22
23
24
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